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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

 YUJIA GAO                                            )
                                                             CASE NO.: _________________
                        PLAINTIFF,                    )
                                                      )
                                                             Document Electronically Filed
                v.                                    )
                                                      )
                                                      )      PROPOSED EX PARTE ORDER TO
 EMILY YU, AND WINDSOR                                       SHOW CAUSE WITH TEMPORARY
 SULLIVAN PROPERTY INC.                               )
                                                             RESTRAINING ORDER SEEKING
                        DEFENDANTS.                   )      ATTACHMENT
                                                      )
                                                      )




       Upon reading of the complaint dated November 12, 2021, the affidavit of Plaintiff Yujia

Gao (sworn to on November 4, 2021), the affirmation of Paul A. Gilmer, Esq., dated November

12, 2021, the memorandum of law, and the exhibits annexed thereto; and having found sufficient

reason being alleged and good cause appearing therefrom, including explanation set forth in the

affidavit which demonstrates that the Temporary Restraining Order set forth herein ought to be

issued without notice to avoid irreparable injury to Plaintiffs given flight risk, it is hereby:

       ORDERED that Defendants Emily Yu, and Windsor Sullivan Property Inc. (collectively,

“Defendants”), or their counsel shall appear and show cause before this Court, on ___________,

2021, as to why this Court should not enter a Temporary Restraining Order, pending final ruling

on the Complaint against the Defendants, enjoining them from transferring any assets, including
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Defendant Yu’s residence located at 30 Chestnut Dr. Roslyn, NY 11576 and the Windsor School

located at 37-02 Main St, Flushing, NY 11354.

       ORDERED, that, sufficient reason having been shown therefore, pending the hearing of

Plaintiffs’ motion for attachment, pursuant to Fed. R. Civ. P. Rule 65, Defendants and all of

their successors, assigns, agents, employees, directors, attorneys or other persons acting on

its behalf or in connection with it, are hereby temporary restrained and enjoined from

transferring, disposing of, encumbering or otherwise causing, instructing or requesting any

diminishment, transfer or disbursement of assets held by Defendants, or assets held by

Defendants on behalf of Plaintiff, including the property located at 30 Chestnut Dr. Roslyn, NY

11576 and the Windsor School located at 37-02 Main St, Flushing, NY 11354.

ORDERED that Plaintiffs file a bond on or before _____________, 2021, in the sum of

______________, conditioned that the Plaintiffs, if it is finally determined that they were not

entitled to a temporary restraining order, will pay to the Defendants all damages and costs that

may be sustained by reason thereof; and it is further

ORDERED, that service of a copy of this Temporary Restraining Order and Order to Show

Cause for an Order of Attachment, and each paper identified in the first paragraph hereof shall be

deemed good and proper service if served by ___________, 2021:



(i) By email to e.yu@thewindsorschool.com

(ii) By FedEx (or similar courier) to 30 Chestnut Dr. Roslyn, NY 11576



ORDERED, that Defendants shall file and serve any response or opposition to this Order no later

than _____________, 2021 via the Court's Electronic Filing System; and, it is further
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ORDERED, that Plaintiff shall serve any reply papers in further support of its motion for the

order of attachment by ________________, 2021 via the Court's Electronic Filing System; and it

is further



ORDERED, that a hearing on the Motion for an Order of Attachment will be held on

_________, 2021 at Courtroom ___at 500 Pearl Street, New York, New York, or as soon

thereafter as counsel may be heard.


ISSUED:        New York, New York

               __________, 2021
               At ____ __m.

                                      ________________________________
                                      UNITED STATES DISTRICT JUDGE
